
In re Grefer, Joseph, et al.; Grefer, Henry; Grefer, Hassie; Grefer, Rose Marie; Grefer, Camille; — Plaintiff(s); applying for supervisory and/or remedial writs, Parish of Orleans, Civil District Court, Div. A, Nos. 97-15004; to the Court of Appeal, Fourth Circuit, No. 99-C-1580.
Granted in part. For the reasons set forth in Grefer v. Alpha Technical, 99-1782 (La.10/15/99), 744 So.2d 1284, the application is granted for the limited purpose of remanding the matter to the trial court to set a delay for plaintiffs to amend their *870pleadings in an attempt to remove the objection raised by the exception of no cause of action. In all other respects, the application is denied.
VICTORY, J., not on panel.
TRAYLOR, J., would deny the writ.
